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           1                        UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF NEW YORK
           2

           3     UNITED STATES OF AMERICA,           )
                                                     ) Case No. 1:23-MJ-166
           4                                         )              (JLS)(JJM)
                                    Plaintiff,       )
           5                                         )
                 vs.                                 ) December 12th, 2023
           6                                         )
                 SCOTT J. BARNES,                    )
           7                                         )
                                    Defendant.       )
           8

           9                        TRANSCRIPT OF BAIL HEARING
                          BEFORE THE HONORABLE H. KENNETH SCHROEDER, JR.
          10                      UNITED STATES MAGISTRATE JUDGE

          11

          12     APPEARANCES:

          13     For the Plaintiff:       TRINI E. ROSS
                                          UNITED STATES ATTORNEY
          14                              BY: NICHOLAS COOPER, ESQ.
                                               JOSEPH TRIPI, ESQ.
          15                              ASSISTANT UNITED STATES ATTORNEYS
                                          138 Delaware Avenue
          16                              Buffalo, NY 14202

          17     For the Defendant:       DAVID B. COTTER, ESQ.
                                          380 Cleveland Drive
          18                              Buffalo, NY 14215

          19     Probation Officer:       ANDRE MCCRAY

          20     Audio Recorder:          LLANE GUIDOTTI

          21     Transcriber:             MEGAN E. PELKA, RPR
                                          Robert H. Jackson US Courthouse
          22                              2 Niagara Square
                                          Buffalo, NY 14202
          23                              (716) 229-0880

          24              Proceedings recorded with electronic sound recording,
09:35AM          transcript prepared with computer-aided transcription.
09:35AM   25
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09:35AM    1               THE CLERK:     This is United States v. Scott J. Barnes,

09:35AM    2     docket number 23-MJ-166.      This is the attorney assignment

09:35AM    3     hearing and detention hearing.        Assistant United States

09:35AM    4     Attorneys Joseph Tripi, Nicholas Cooper, appearing on behalf

09:36AM    5     of the government.     David B. Cotter appearing with defendant

09:36AM    6     and United States Probation Officer Andre McCray.

09:36AM    7               THE COURT:     Good afternoon.

09:36AM    8               MR. COOPER:     Good afternoon, Your Honor.

09:36AM    9               THE COURT:     Mr. Cotter, you have been assigned to

09:36AM   10     represent Mr. Barnes as a member of the Criminal Justice Act

09:36AM   11     panel of attorneys, and I thank you for accepting that

09:36AM   12     assignment.

09:36AM   13               MR. COTTER:     I am happy to accept it, Judge.

09:36AM   14               THE COURT:     We're here for the detention hearing.

09:36AM   15     Are we ready to proceed?

09:36AM   16               MR. COTTER:     The defense is ready, Judge.

09:36AM   17               MR. COOPER:     Government is ready, Your Honor.

09:36AM   18               THE COURT:     All right.

09:36AM   19               MR. COOPER:     Your Honor, before Mr. Barnes' case was

09:37AM   20     called, we ran a detention hearing in United States v. Joseph

09:37AM   21     Ermin.   Mr. Tripi proffered information to the Court and I was

09:37AM   22     aware that Mr. Cotter was present in the courtroom during that

09:37AM   23     detention proceeding.      I spoke with Mr. Cotter before Your

09:37AM   24     Honor came onto the bench just now and informed him that it

09:37AM   25     was my intention to request that the Court incorporate by
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09:37AM    1     reference the proffer given and the exhibits introduced by

09:37AM    2     Mr. Tripi in that related case in the detention hearing.          It's

09:37AM    3     my expectation that Mr. Cotter has no objection to

09:37AM    4     incorporating that into the record here to avoid re --

09:37AM    5     essentially, revisiting all the same information that

09:38AM    6     Mr. Tripi just provided the Court.        Is the Court okay with

09:38AM    7     that?

09:38AM    8               THE COURT:     Did you say Mr. Cotter indicated he has

09:38AM    9     no objection?

09:38AM   10               MR. COOPER:     I don't believe he's going to object,

09:38AM   11     but, obviously, he can speak for himself.

09:38AM   12               MR. COTTER:     Judge, I guess my position is, I don't

09:38AM   13     see any point in repeating everything Mr. Tripi said within

09:38AM   14     the last hour; however, I do not concede that just because the

09:38AM   15     government found X, Y, or Z in a clubhouse or in somebody's

09:38AM   16     house it's automatically attributable to Mr. Barnes.

09:38AM   17               THE COURT:     Okay.

09:38AM   18               MR. COTTER:     For the purpose of expediency, I have no

09:38AM   19     objection.    For the purposes of guilt by association, vehement

09:38AM   20     objection.

09:38AM   21               THE COURT:     I think that's a fair limitation, so I

09:39AM   22     will consider the exhibits that were utilized by Mr. Tripi in

09:39AM   23     the case of United States v. Ermin as applying on behalf of

09:39AM   24     the government in its presentation in the case of United

09:39AM   25     States v. Barnes so we don't have to go through that whole
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09:39AM    1     scenario, but I recognize Mr. Cotter's position as far as the

09:39AM    2     rights of his client are concerned.

09:39AM    3               MR. COOPER:     And, Judge, I appreciate that.          And just

09:39AM    4     to be clear, it would be the marked exhibits, the physical

09:39AM    5     exhibit themselves, and also the proffered information from

09:39AM    6     Mr. Tripi.    Is that fair game as well?

09:39AM    7               THE COURT:     Yes.

09:39AM    8               MR. COOPER:     Okay.   Thank you, Judge.

09:39AM    9               THE COURT:     That is the references to the Pharaoh's

09:40AM   10     club and the motorcycle club and the patches and all that?

09:40AM   11               MR. COOPER:     Yes, Judge.

09:40AM   12               THE COURT:     Yes.

09:40AM   13               MR. TRIPI:     Judge, sorry to speaking from the bench

09:40AM   14     here.   For the record, I did give Mr. Cotter a copy of

09:40AM   15     everything that I have shown the Court.

09:40AM   16               MR. COTTER:     So acknowledged.

09:40AM   17               THE COURT:     Okay.    Mr. Cooper?

09:40AM   18               MR. COOPER:     Thank you, Judge.

09:40AM   19          So, Your Honor, the defendant is charged in one count on a

09:40AM   20     complaint with violating Title 18, United States Code, Section

09:40AM   21     922(g)(1).    Distinct from Defendant Ermin or Defendant

09:40AM   22     Roncone, Defendant Barnes is charged with a violation of

09:40AM   23     Subsection 1 of Section 922(g) because he's a prohibited

09:40AM   24     person due to a prior conviction for an offense punishable by

09:41AM   25     one year or more imprisonment.       And, specifically, Judge, I
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09:41AM    1     guess what I'll start with on that note, is the actual

09:41AM    2     conviction.    And I provided Mr. Cotter via email before we

09:41AM    3     came to court today with the documents that the government has

09:41AM    4     related to that conviction.       That was a conviction while the

09:41AM    5     defendant was in the United States military.          The conviction,

09:41AM    6     the offense of conviction, was wrongful possession,

09:41AM    7     distribution, and use of LSD.       That's from 23 May 1991.      As a

09:41AM    8     result of that conviction, the defendant was incarcerated for

09:41AM    9     a period of four years in Leavenworth and other military

09:42AM   10     prisons.

09:42AM   11                THE COURT:    Was that a court martial proceeding?

09:42AM   12                MR. COOPER:    I believe so, Judge.

09:42AM   13                THE COURT:    Is the standard of guilt different?

09:42AM   14                MR. COOPER:    Not that I'm aware of, Your Honor.

09:42AM   15                THE COURT:    As far as what the military had to prove?

09:42AM   16                MR. COOPER:    Meaning the burden of proof?

09:42AM   17                THE COURT:    Burden of proof, yes.

09:42AM   18                MR. COOPER:    I don't know the answer to that

09:42AM   19     question, Judge.

09:42AM   20                MR. COTTER:    Judge, Mr. Cooper -- if I may,

09:42AM   21     Mr. Cooper and I discussed this briefly.         Although I'm more

09:45AM   22     than willing to accept his ability and talent and knowledge

09:45AM   23     and so on, neither one of us know diddly about the Uniform

09:45AM   24     Code of Military Justice other than the acronym.           And I --

09:45AM   25                THE COURT:    Well, just for full disclosure, I am, at
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09:45AM    1     one time, I don't know if it still exists, but way back in

09:45AM    2     1961, I was admitted to the Court of Military Justice.

09:45AM    3               MR. COTTER:     Maybe you could advise us then.

09:45AM    4               MR. COOPER:     Well, Judge, I believe that the Court

09:45AM    5     certainly signed a criminal complaint.         And that was spelled

09:45AM    6     out in detail in the factual basis of the criminal complaint

09:45AM    7     that that was the underlying felony that the government was

09:45AM    8     relying on.    And I would note that the definition or at least

09:46AM    9     the statutory definition of a felony offense is an offense

09:46AM   10     punishable by one year or more of incarceration.           And then, in

09:46AM   11     this instance, the defendant was sentenced to a period of four

09:46AM   12     years of incarceration.

09:46AM   13          So, it's the government's position that the defendant is a

09:46AM   14     previously-convicted felon, and was found to be in possession

09:46AM   15     of a loaded firearm in the Outlaws Motorcycle Club clubhouse.

09:46AM   16          So, the bases for detention, there's quite a few.             Under

09:46AM   17     Title 18, United States Code, Section 3142(f)(1)(A), a

09:46AM   18     violation of 922(g)(1) is a crime of violence.          And the Second

09:47AM   19     Circuit ruled on that in United States v. Watkins.           That's 940

09:47AM   20     F.3d 152 (2d Cir. 2019).

09:47AM   21          In that case, the Circuit held it has long been the law in

09:47AM   22     our Circuit that possession of a firearm is unequivocally a

09:47AM   23     crime of violence for the purposes of 3142(f)(1)(A).              There,

09:47AM   24     the Court's reasoning in arriving at that conclusion applies

09:47AM   25     with equal force to the crime of possession of ammunition by a
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09:47AM    1     convicted felon.     Like possession of a firearm, possession of

09:47AM    2     ammunition gives rise to some risk that the ammunition may be

09:47AM    3     used in an act of violence.       So, our starting point,

09:47AM    4     3142(f)(1)(A), is a basis for detention because the offense is

09:48AM    5     a crime of violence.

09:48AM    6          Under Title 18, United States Code, Section 3142(f)(1)(E),

09:48AM    7     there's a basis for detention when a defendant is charged with

09:48AM    8     any felony that is not otherwise a crime of violence that

09:48AM    9     involves the possession or use of a firearm or destructive

09:48AM   10     device or any other dangerous weapon.         And I would highlight

09:48AM   11     for the Court that 3142(f)(1)(E) does not require the use of a

09:48AM   12     firearm.    It requires the possession or use.        And, in this

09:48AM   13     instance, the defendant is charged with possessing a firearm.

09:48AM   14          Title 18, United States Code, Section 3142(f)(2)(A)

09:48AM   15     provides another basis for detention in this case; a serious

09:49AM   16     risk that such person will flee, and I'll get to that in a

09:49AM   17     little bit.    And Title 18, United States Code, Section

09:49AM   18     3142(f)(2)(B), a serious risk that such person will obstruct

09:49AM   19     or attempt to obstruct justice or threaten, injure, or

09:49AM   20     intimidate a prospective witness or juror.          So, those four

09:49AM   21     bases for detention are what the government is relying on in

09:49AM   22     its motion today, Your Honor.

09:49AM   23          The Court's got to start its analysis with the factors

09:49AM   24     under 3142(g).     The first factor that's listed, as the Court

09:49AM   25     well knows, is the nature and circumstances of the offense; in
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09:49AM    1     particular, whether it's an offense which is violent, or non-

09:50AM    2     violent in nature or involves narcotics.         And here, Judge, the

09:50AM    3     Second Circuit has already spoken on that.          This offense, in

09:50AM    4     the eyes of the Circuit, is violent in nature for the purposes

09:50AM    5     of Section 3142.     Being a felon in possession of a firearm is

09:50AM    6     an inherently violent crime for the purposes of the Bail

09:50AM    7     Reform Act.

09:50AM    8          I would also point out for the Court, on the subject of

09:50AM    9     the nature and circumstances of the offense, in the prior

09:50AM   10     case, in the detention hearing with respect to Mr. Ermin, the

09:50AM   11     Court questioned the parties and made a record about the

09:50AM   12     rifles and the shotgun being consistent with, you know,

09:51AM   13     possible use for hunting or sporting purposes.          And that's not

09:51AM   14     what we have here in the case involving Mr. Barnes.

09:51AM   15          The firearm that was recovered from the Outlaws clubhouse

09:51AM   16     with respect to Mr. Barnes was not a hunting rifle.           It was

09:51AM   17     not a skeet shotgun.      It was a loaded Glock semi-automatic

09:51AM   18     pistol.   And I think that's an important distinction to draw

09:51AM   19     in this case.

09:51AM   20          Also, I want to break for a second and address the Court's

09:51AM   21     question earlier about the standard of proof in a military

09:51AM   22     proceeding.    Mr. Tripi just did some quick research for me,

09:51AM   23     and it's the government's position that the standard of proof

09:51AM   24     is guilt beyond a reasonable doubt, and that that can be found

09:51AM   25     in 10 United States Code, Section 851(c)(1), guilt beyond a
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09:52AM    1     reasonable doubt via lawful, competent evidence.

09:52AM    2          So, with respect to the nature and circumstances of the

09:52AM    3     offense charged in this criminal complaint, Judge, we're

09:53AM    4     talking about what was recovered inside the Outlaws'

09:53AM    5     clubhouse.

09:53AM    6          And what we have here is I'm showing the Court what's

09:53AM    7     already been displayed as Government's Exhibit 9B.           This is

09:53AM    8     being held by an FBI agent shortly after it was observed and

09:53AM    9     recovered.    You can see the slide's partially pulled back and

09:54AM   10     there's a round seated in the chamber of this firearm.

09:54AM   11          In Government's Exhibit 9C, as in Charlie, the magazine

09:54AM   12     has been removed and you can see that the magazine is loaded

09:54AM   13     with ammunition.     Again, not a sporting rifle, not a skeet

09:54AM   14     shotgun, a loaded Glock semi-automatic pistol.          And let's talk

09:54AM   15     about where it was recovered.       And that's going to kind of

09:54AM   16     blend from the nature and circumstances of the offense into

09:54AM   17     the weight of the evidence against the person.

09:54AM   18          I'm sure Mr. Cotter is going to tell you it's a biker

09:54AM   19     clubhouse.    A lot of people come in and out of the biker

09:54AM   20     clubhouse.    How do we know that the semi-automatic pistol

09:54AM   21     belongs to Mr. Barnes?      Well, Judge, when Mr. Barnes was being

09:54AM   22     detained by law enforcement outside of the Outlaws' clubhouse,

09:55AM   23     he made some statements to them.        Specifically, he was asked

09:55AM   24     about whether there were any weapons in the house.           He said he

09:55AM   25     had no weapons on him.      Then, he further offered up, when they
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09:55AM    1     asked again, are there any weapons inside, he offered up, not

09:55AM    2     that I know of.     The first response was, none on me.            And that

09:55AM    3     was true.    He didn't have any weapons on his person.             Then, he

09:55AM    4     makes a statement about two minutes after that to an agent and

09:55AM    5     he says, my cell phone is at the top of the stairs, and he

09:55AM    6     describes a location where his cell phone is inside the

09:55AM    7     clubhouse.

09:55AM    8          Agents recovered this Glock pistol within five feet of the

09:56AM    9     location where the defendant's cell phone was.           And he told

09:56AM   10     them where his cell phone was.        There's a sleeping area.

09:56AM   11     There's a bedside table, the defendant's wallet, the

09:56AM   12     defendant's ID in the wallet, I believe, including his Social

09:56AM   13     Security card, all inside there in the same exact location as

09:56AM   14     this loaded Glock pistol.       He's also the only person in the

09:56AM   15     clubhouse at the time that it's searched.

09:56AM   16          So, we have his personal belongings, the loaded firearm

09:56AM   17     within feet of his cell phone, and he described to law

09:56AM   18     enforcement where that cell phone would be recovered, where it

09:56AM   19     could be located.

09:56AM   20          So, the weight of the evidence.        There's a certified

09:56AM   21     conviction that he's a felon, and there's this loaded Glock

09:57AM   22     pistol found within feet of his other personal effects

09:57AM   23     including his identification and his cell phone.           I would

09:57AM   24     argue to the Court that the weight of the evidence here is

09:57AM   25     strong, and I would also front for the Court that that's not a
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09:57AM    1     factor that United States Probation is permitted to consider

09:57AM    2     when they make a recommendation.        So, it's information that

09:57AM    3     Your Honor should properly consider under the Bail Reform Act.

09:57AM    4     But it's not something that Probation considers when they make

09:57AM    5     their recommendation.      But, here, I would argue that the

09:57AM    6     weight of the evidence is strong.

09:57AM    7          The defendant's cell phone is at the very top of the

09:57AM    8     stairs on the TV stand adjacent to a stairwell.           And, about

09:58AM    9     five feet from that cell phone, in plain view, on a bedside

09:58AM   10     table, is the loaded Glock pistol.         His wallet and keys were

09:58AM   11     all in the immediate vicinity of both the cell phone and the

09:58AM   12     firearm.

09:58AM   13          Defendant can't reasonably -- or counsel can't reasonably

09:58AM   14     argue to this Court, oh, he had no idea it was in the house.

09:58AM   15     It's next to his phone.       It's next to his wallet, his ID, and

09:58AM   16     his keys.    It doesn't take a rocket scientist to assess who

09:58AM   17     possesses that firearm.       It certainly doesn't take a rocket

09:58AM   18     scientist to know that the defendant lied to the agents when

09:58AM   19     they asked him if there were any firearms or weapons inside

09:58AM   20     the house.

09:58AM   21          He obviously knew there was a loaded Glock feet away from

09:58AM   22     his cell phone and on the same table as his keys and his

09:59AM   23     wallet, but he didn't tell them that.         It's understandable why

09:59AM   24     he didn't tell him that.       It's a statement against his

09:59AM   25     interest.    But it, A, shows he's willing to be dishonest to
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09:59AM    1     law enforcement and, B, it's evidence of his consciousness of

09:59AM    2     guilt that he's not going to acknowledge that there's a loaded

09:59AM    3     firearm inside the house.

09:59AM    4          The third factor for the Court to consider is the history

09:59AM    5     and characteristics of the person; character, including

09:59AM    6     physical and mental condition; family ties; employment;

09:59AM    7     financial resources; length of time in the community;

09:59AM    8     community ties; past conduct; and history related to drug or

09:59AM    9     alcohol abuse; criminal history; record of court appearances,

10:00AM   10     and so forth.

10:00AM   11          Now, the Pretrial Services report addresses some of that.

10:00AM   12     One example is the substance abuse portion, history related to

10:00AM   13     drug or alcohol abuse.       The defendant provided some

10:00AM   14     information to probation about that and he withheld other

10:00AM   15     information.     And that's on page 3 of the Pretrial Services

10:00AM   16     report.

10:00AM   17          The defendant reported that he checked himself into High

10:01AM   18     Point Treatment Center in the past and has been sober since

10:01AM   19     January 1, 2021.     The defendant declined to disclose what

10:01AM   20     substances he previously used.        So, there's some indication

10:01AM   21     from the defendant that he's at least a prior user of

10:01AM   22     controlled substances, although he wasn't keen on telling US

10:01AM   23     Probation which substances those were.

10:01AM   24          The defendant also has a criminal history, as evidenced in

10:01AM   25     Government Exhibit 18, which is the certified conviction
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10:01AM    1     that's been provided to Mr. Cotter.         It indicates the

10:01AM    2     defendant's prior for four years for this felony offense.

10:01AM    3     There's also some facts that I can display.          And the essence

10:01AM    4     of the offense is distributing LSD.         It's contained right on

10:02AM    5     the first page.     There's a basis for the investigation, and I

10:02AM    6     can hand this up to the Court if you'd like to read it more

10:02AM    7     closely.    But, in substance, PV2 Barnes distributed LSD to

10:02AM    8     another PV2 while in the military.         It's not a complex case.

10:02AM    9     It's a felony.     That's a part of his criminal history.

10:02AM   10                THE COURT:    That was in what year?

10:02AM   11                MR. COOPER:    Nineteen ninety-one, Judge.

10:02AM   12                MR. COTTER:    It's 32 years ago, Judge.

10:02AM   13                MR. COOPER:    You'll have a turn in a moment.

10:02AM   14          Judge, there's also an arrest for -- from Epping, New

10:02AM   15     Hampshire for simple assault.        It would be a misdemeanor.       I'd

10:03AM   16     focus to the Court -- I'd draw the Court's attention to the

10:03AM   17     fact specifically that assault, while it's a misdemeanor, is a

10:03AM   18     crime of violence by its nature.        It's assault.     And

10:03AM   19     regardless of the defendant's sentence to good behavior, it

10:03AM   20     should draw concern to this Court about the defendant's

10:03AM   21     history and characteristics, which is something the Bail

10:03AM   22     Reform Act asks you and calls you to consider.

10:03AM   23          Now, in addition to that criminal history, Judge, the

10:03AM   24     defendant is a member of the Outlaws Motorcycle Gang.              Now,

10:03AM   25     Mr. Tripi gave a lengthy proffer to the Court about what that
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10:03AM    1     means and what inferences the Court -- the government is

10:03AM    2     asking the Court to draw as a result of that.           And so, I'm

10:03AM    3     only going to hit on a couple points.         First of all, with

10:04AM    4     respect to risk of flight, it's the government's position that

10:04AM    5     when you belong to an organization with members all over the

10:04AM    6     country, and all over the world, that that inherently enhances

10:04AM    7     a risk of flight.      And I understand the Court's --

10:04AM    8                THE COURT:    Isn't that true of the Boy Scouts?

10:04AM    9                MR. COOPER:    And I understand the Court's argument to

10:04AM   10     the government which is, does that include the Boy Scouts?

10:04AM   11     And I would submit that it does not include the Boy Scouts.

10:04AM   12          I think there's a -- I understand the Court is making a

10:04AM   13     remark about that, but I would submit that there's an obvious

10:04AM   14     difference between a group that calls themselves the Outlaws

10:04AM   15     and lives by these mottos of "Snitches are a dying breed" and

10:04AM   16     "God forgives and Outlaws don't" and the Boy Scouts, which is

10:04AM   17     a youth development and charitable organization.           And if the

10:05AM   18     Court doesn't see that distinction, that's fine, and I'll move

10:05AM   19     on, but I would submit that it's an obvious distinction.

10:05AM   20          And so, when you have -- the organization has been

10:05AM   21     involved in multiple indictments for RICO cases.           That's not

10:05AM   22     what we have here, but that's the organization.           That's the

10:05AM   23     same group, not --

10:05AM   24                THE COURT:    Isn't that guilt by association?          Is that

10:05AM   25     your argument?
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10:05AM    1                 MR. COOPER:   Well, Judge, evidence of an association

10:05AM    2     is not prohibited in a detention hearing.          In fact, I would

10:05AM    3     submit to the Court --

10:05AM    4                 THE COURT:    All I am asking is, isn't that what

10:05AM    5     you're arguing?

10:05AM    6                 MR. COOPER:   Well, no, Judge.     I'm not asking you to

10:05AM    7     convict the defendant.       I'm telling you that he's a risk of

10:05AM    8     flight because of his association with individuals all over

10:05AM    9     the country and all over the world.

10:05AM   10                 THE COURT:    Wait a minute.    You're asking me to lock

10:05AM   11     this man up for a lengthy period of time.

10:05AM   12                 MR. COOPER:   Correct.

10:05AM   13                 THE COURT:    Before this case comes to trial.         That's

10:06AM   14     punitive.    I'm not here to determine guilt or innocence.           So,

10:06AM   15     that's not what I'm suggesting or indicating when I ask my

10:06AM   16     question of, when you say that he belongs to or has contacts

10:06AM   17     with other organizations, therefore, he should be locked up,

10:06AM   18     to me, that's saying because he's guilty by association with

10:06AM   19     these organizations.

10:06AM   20                 MR. COOPER:   That's not what I'm arguing, Judge.         If

10:06AM   21     you'll let --

10:06AM   22                 THE COURT:    Now, a thought came to my mind, and I

10:06AM   23     just throw it out because it came to my mind.           I've heard

10:06AM   24     about symbols and patches and so forth.         The Oakland Raiders,

10:07AM   25     on their helmets -- National Football League, which now plays
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10:07AM    1     in Germany and England, has a skull and crossbones.            The

10:07AM    2     raiders were known for their fierceness.

10:07AM    3                MR. COOPER:    And Judge, if the Raiders had been

10:07AM    4     previously indicted for RICO, and then their national

10:07AM    5     president had been convicted for RICO offense, I would make

10:07AM    6     the same argument to Your Honor; which is, it's a criminal

10:07AM    7     organization, and members of criminal organizations that have

10:07AM    8     contacts all over the country, all over the world, are a risk

10:07AM    9     of flight.    If the Court doesn't see that, I don't understand

10:07AM   10     how you can't see the distinction between --

10:07AM   11                THE COURT:    So, if he belonged to an organization to

10:08AM   12     which somebody has been convicted, there's a risk of flight?

10:08AM   13                MR. COOPER:    So, Judge, what I'm arguing to you is

10:08AM   14     that, when you have an organization like this one, look at

10:08AM   15     this one, instead of different ones, this one --

10:08AM   16                THE COURT:    I'm not looking at an organization

10:08AM   17     because I don't see anything about an organization that is

10:08AM   18     charged.    What I see is a charge against an individual

10:08AM   19     supposedly unlawfully possessing a weapon because he had

10:08AM   20     previously been convicted of a crime.

10:08AM   21                MR. COOPER:    So, Judge, the Bail Reform Act --

10:08AM   22                THE COURT:    Under Title 18, United States Code,

10:09AM   23     922(g)(1).    That's what I see in front of me.

10:09AM   24                MR. COOPER:    The Bail Reform Act asks you to consider

10:09AM   25     the history and characteristics of the person.           And part of
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10:09AM    1     that is association with organizations.         I'm going to proffer

10:09AM    2     about that, and the Court can give it what weight that it

10:09AM    3     chooses to give it.      But in --

10:09AM    4                THE COURT:    Are any of those organizations prohibited

10:09AM    5     by law from existing?      In fact, they're incorporated under

10:09AM    6     state laws, aren't they?

10:09AM    7                MR. COOPER:    Judge, I'm not asking you to consider --

10:09AM    8                THE COURT:    Answer my question.

10:09AM    9                MR. COOPER:    No.   I don't believe that they are.      The

10:09AM   10     question is --

10:09AM   11                THE COURT:    You don't think they are incorporated?

10:09AM   12                MR. COOPER:    No.   I don't believe that they're

10:09AM   13     illegal and not allowed to exist.        The question -- what I'm

10:09AM   14     arguing to you is that membership in an organization with that

10:10AM   15     sort of reach and with clubhouses all over the world allows

10:10AM   16     you --

10:10AM   17                THE COURT:    Is that membership illegal?

10:10AM   18                MR. COOPER:    No, Judge.    What I'm -- the argument,

10:10AM   19     though, is that you have other places to go where you can have

10:10AM   20     resources, where you have people looking out for you, where

10:10AM   21     you can pick up where you left off, where a defendant,

10:10AM   22     individually, who is not a member of some transnational

10:10AM   23     organization, doesn't have those same resources accessible to

10:10AM   24     them.    So, the argument is, when you have a group that has

10:10AM   25     clubhouses in different countries, and members in those
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10:10AM    1     different countries, that it's easier to pick up and relocate

10:10AM    2     to a different country because you have contacts there.

10:10AM    3                THE COURT:    The fact that it's easier doesn't mean

10:10AM    4     that it's probable.

10:11AM    5                MR. COOPER:    It's part of the proffer as to risk of

10:11AM    6     flight.    That's why I'm proffering it.       And the Court --

10:11AM    7                THE COURT:    All right.

10:11AM    8                MR. COOPER:    I don't understand how you can't

10:11AM    9     consider it.     That's --

10:11AM   10                THE COURT:    All right.    I understand now what you're

10:11AM   11     saying.    All I'm saying is, it doesn't mean it's probable.

10:11AM   12                MR. COOPER:    May I continue?

10:11AM   13                THE COURT:    Yes.

10:11AM   14                MR. COOPER:    Thank you, Judge.

10:11AM   15          So, when you have clubhouses all over the world that

10:11AM   16     you're able to go and show up at and, basically, pick up where

10:11AM   17     you left off because you'll have other members supporting you,

10:11AM   18     other members helping you out, that presents a different

10:11AM   19     reality for this defendant than it does for many defendants

10:11AM   20     who appear in front of you.

10:11AM   21          A drug dealer in Buffalo who sells drugs in Buffalo and

10:12AM   22     has no contacts outside of Buffalo would have a more difficult

10:12AM   23     time fleeing to Brazil than a defendant who belongs to a group

10:12AM   24     that had 16 clubhouses in Brazil.        That's --

10:12AM   25                THE COURT:    You really want to use that as an example
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10:12AM    1     when I've seen hundreds and hundreds and hundreds of

10:12AM    2     government applications about somebody belonging to a criminal

10:12AM    3     organization where they get narcotics from Mexico, and they

10:12AM    4     get narcotics from Guatemala, and they get narcotics from

10:12AM    5     Brazil, and they get narcotics from Columbia, and they have

10:12AM    6     these connections all over the world for their distribution?

10:12AM    7                MR. COOPER:    Okay.   And those are viable arguments --

10:13AM    8                THE COURT:    But the government doesn't make an

10:13AM    9     argument that this person is a flight risk because of their --

10:13AM   10     having these different locations.

10:13AM   11                MR. COOPER:    Well, Judge, I made an argument in

10:13AM   12     United States v. Washington in front of Your Honor that,

10:13AM   13     because the defendant had contacts in Ohio and contacts in

10:13AM   14     Bradford, Pennsylvania, that he posed a flight risk.               And Your

10:13AM   15     Honor detained the defendant both as a risk of flight and as a

10:13AM   16     danger to the community.

10:13AM   17                THE COURT:    There were other reasons that I took into

10:13AM   18     consideration.

10:13AM   19                MR. COOPER:    Absolutely.     But that was an argument

10:13AM   20     that I made to Your Honor, and you're saying you don't hear

10:13AM   21     those arguments.     It happened in --

10:13AM   22                THE COURT:    No.   I'm talking about in applications

10:13AM   23     that are being made for either criminal complaints or for

10:13AM   24     search warrants about how there are all these cartels all over

10:13AM   25     the world.    But I don't hear the government, when it comes
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10:14AM    1     time on the bail arguments, to say, well, this guy is a flight

10:14AM    2     risk because he has all these relationships.

10:14AM    3                MR. COOPER:    I can't speak to arguments that aren't

10:14AM    4     made in cases that aren't this one before the Court.               I can

10:14AM    5     speak to the argument that's being made in this case which is,

10:14AM    6     that when you're a member of an organization with clubhouses

10:14AM    7     all over the world, that enhances the risk of flight.              I'll

10:14AM    8     move on.

10:14AM    9                THE COURT:    All right.

10:14AM   10                MR. COOPER:    I get how you feel about it.

10:14AM   11                THE COURT:    It's not a question of how I feel,

10:14AM   12     Mr. Cooper, it's a question of how I'm going to keep my oath

10:14AM   13     to uphold the Constitution of the United States of America,

10:14AM   14     and the laws of the United States of America, and apply those

10:14AM   15     laws to the best of my ability in an unbiased, honest,

10:15AM   16     intellectually honest way.

10:15AM   17                MR. COOPER:    Absolutely, Judge.

10:15AM   18          So, if the defendant chose to flee to Alabama, there would

10:15AM   19     be three chapters for him to flee to.         If he chose to flee to

10:15AM   20     Arkansas, two chapters there to flee to.          If he choose to flee

10:15AM   21     to Colorado, he'd only have one chapter to chose from; 2 in

10:15AM   22     Connecticut; 16 in Florida; 8 in Georgia; 16 in Illinois; 7 in

10:15AM   23     Indiana; 5 in Kentucky.       Any one of these he can show up and

10:15AM   24     he'll be sleeping in the clubhouse just like he was in

10:15AM   25     Buffalo.
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10:15AM    1          Two in Maine; six in Massachusetts; five in Michigan; one

10:15AM    2     in Missouri; one in New Hampshire; four in New York, although

10:15AM    3     I image he wouldn't pick any of those; nine in North Carolina;

10:16AM    4     ten in Ohio; five in Oklahoma; ten in Pennsylvania; one in

10:16AM    5     Rhode Island; two in South Carolina; eight in Tennessee; one

10:16AM    6     in Vermont; one in Virginia; and ten others to choose from in

10:16AM    7     Wisconsin.

10:16AM    8          By that count, there's over 136 listed chapters in 25 of

10:16AM    9     the United States.      And I'm not making that stuff up, Judge.

10:16AM   10     It's on their publicly-available website.

10:16AM   11          In addition to the clubhouses here in the United States,

10:17AM   12     there's the global reach which causes more concerns.               Because,

10:17AM   13     if the defendant decides to vacation in sunny South America,

10:17AM   14     there's 14 different chapters for him to chose from in Brazil.

10:17AM   15     He can go to Canada, France, Belgium, England, where he can

10:17AM   16     choose from 14 different chapters.         He'll be sleeping on the

10:17AM   17     couch in Ireland, or Germany, or Thailand, or Sweden, or

10:17AM   18     Italy, or Poland, or Russia, or Japan, where they have a

10:17AM   19     clubhouse, or the Philippines, or Spain, or Serbia, or

10:17AM   20     Austria, or Switzerland, or the Czech Republic.

10:17AM   21          And so, the point that's being made is, just as the

10:17AM   22     defendant relocated from Massachusetts down here to Western

10:17AM   23     New York and crashed on a couch at a clubhouse for years, he

10:18AM   24     can do that to any of these other locations which positions

10:18AM   25     him differently than many of the defendants that stand before
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10:18AM    1     Your Honor.

10:18AM    2          The nature and seriousness of the danger to any person or

10:18AM    3     to the community that would be posed by the person's release.

10:18AM    4     The defendant is believed by law enforcement to be a member of

10:18AM    5     the national leadership of the Outlaws Motorcycle Club.             The

10:18AM    6     defendant is a member of the BBT, the Baseball Bat Team, a

10:18AM    7     status conferred upon members of the gang who have been

10:18AM    8     recognized for their willingness to commit acts of violence on

10:18AM    9     behalf of the gang.

10:18AM   10          Additionally, the defendant's position within the club is

10:18AM   11     a position of enforcer; again, acknowledging his willingness

10:18AM   12     and history of violence.       The defendant came into the Western

10:19AM   13     District of New York in Fall of 2021.

10:19AM   14          Notably, Judge, that's shortly after Gerace was charged in

10:19AM   15     the superseding indictment and after it became clear that law

10:19AM   16     enforcement had a spotlight on Pharaoh's Gentlemen's Club.

10:19AM   17     The defendant's vest bears the -- I'm sorry, Judge.            Strike

10:19AM   18     that.    The defendant has worn club gear, Outlaws gear, that

10:19AM   19     indicates that he's got, like, a nationwide status within the

10:19AM   20     club; United States running along the bottom of the

10:19AM   21     paraphernalia or the gear, whatever you call it.

10:19AM   22          His leadership role in one of the largest criminal gangs

10:20AM   23     in the world offers him the -- essentially, an army of

10:20AM   24     supporters who are, basically, duty bound by the club's

10:20AM   25     policies to do what the defendant needs in this case.              And
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10:20AM    1     it's not hard to discern what they need, Judge.           You saw it in

10:20AM    2     exhibit after exhibit that Mr. Tripi put before the Court.

10:20AM    3     Snitches are a dying breed.       Snitches get stitches.       A dead

10:20AM    4     rat skeleton hanging over the bar by a noose.           It's pretty

10:20AM    5     clear what the intent is with respect to when these defendants

10:20AM    6     get charged, what's expected to happen to witnesses against

10:20AM    7     them.

10:20AM    8          The Nazism and white supremacy stuff all over the

10:20AM    9     clubhouse presents a danger to the community.           That was

10:21AM   10     proffered and detailed before.        With respect to this

10:21AM   11     defendant, I would submit to the Court that there is letters

10:21AM   12     and paperwork found among his belongings that included

10:21AM   13     communication with other members of the this criminal gang in

10:21AM   14     prisons across the country.

10:21AM   15          Some of those letters were written on, like, SS letterhead

10:21AM   16     from the Einsatzgruppen.       The defendant's books next to his

10:21AM   17     bed were Nazi books.      That should cause a concern to this

10:21AM   18     Court about the danger that this defendant poses to the

10:21AM   19     community.

10:21AM   20          And, before we get to the First Amendment, I understand

10:21AM   21     the Court's position with respect to the First Amendment, and

10:21AM   22     I'm not advocating for restrictions of free speech.            What I'm

10:22AM   23     doing is pointing out the danger that this defendant poses to

10:22AM   24     the community based upon his apparent adherence to white

10:22AM   25     supremacy or Nazi beliefs.       Again, that's been proffered
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10:22AM    1     pretty extensively by Mr. Tripi.        The clubhouse has a giant

10:22AM    2     swastika flag that everybody signs hanging on the wall.

10:22AM    3          Judge, the membership in a large criminal organization

10:22AM    4     like this one also offers the defendant steady and constant

10:22AM    5     access to firearms or other dangerous weapons.           And that's

10:22AM    6     another thing to consider, as opposed to an individual

10:22AM    7     defendant who is not a member of a group like this.            This

10:22AM    8     defendant has access to all these others all across the

10:23AM    9     country and all across the world.        And if he needs to get a

10:23AM   10     firearm, it's obviously not that difficult.          Despite being a

10:23AM   11     convicted felon, he was able to get a hold of this Glock that

10:23AM   12     was recovered on Thursday last week.

10:23AM   13                THE COURT:    You use the term a number of times of

10:23AM   14     this being a criminal organization, referring to this

10:23AM   15     motorcycle club, but I'm not aware of any finding of

10:23AM   16     criminality resulting in a judgment of conviction that would

10:23AM   17     warrant the label that this is a criminal organization.

10:24AM   18                MR. COOPER:    Judge, give me a moment.       I'll get that

10:24AM   19     answer for you.     Judge, I'll pull that up.       Give me just one

10:24AM   20     second.

10:24AM   21                THE COURT:    Well, I heard you say something about 15

10:24AM   22     years.

10:25AM   23                MR. COOPER:    That's the statutory maximum found in

10:25AM   24     Title 18, United States Code Section --

10:25AM   25                THE COURT:    But that's not what he would face
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10:25AM    1     necessarily if he were convicted of this present charge.

10:25AM    2                MR. COOPER:    That would be the statutory maximum if

10:25AM    3     he were convicted.

10:25AM    4                THE COURT:    I said, but that's not what he would

10:25AM    5     necessarily get if he is convicted of this charge.           All I'm

10:25AM    6     asking is what would the federal sentencing guidelines call

10:25AM    7     for.

10:25AM    8                MR. COOPER:    Sure.   We're looking that up right now,

10:25AM    9     Judge.

10:25AM   10                THE COURT:    That's all my question was.

10:25AM   11                MR. COOPER:    Absolutely.     Judge, we may have -- the

10:25AM   12     guidelines would place the defendant due to the prior drug

10:25AM   13     felony conviction somewhere around 33 to 41 months, so in the

10:25AM   14     neighborhood of three years in prison.

10:25AM   15                THE COURT:    It's a lot different than 15 years, isn't

10:26AM   16     it?

10:26AM   17                MR. COOPER:    Well, Judge, the guidelines are

10:26AM   18     recommendations.     They're not the --

10:26AM   19                THE COURT:    Which are to be considered by the

10:26AM   20     sentencing judge.

10:26AM   21                MR. COOPER:    Absolutely.     And all -- Judge, all I was

10:26AM   22     indicating was what was statutory maximum penalty was.

10:26AM   23                THE COURT:    You made the statement this defendant

10:26AM   24     faces 15 years imprisonment, which is the motivation for

10:26AM   25     flight.
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10:26AM    1                MR. COOPER:    It's an accurate statement.       That's the

10:26AM    2     statutory maximum.      A judge in this building could sentence

10:26AM    3     him up to 15 years.

10:26AM    4                THE COURT:    I know that's the maximum.       That's why I

10:26AM    5     asked what the federal sentencing guidelines would call for

10:26AM    6     because I can't believe that the district judge, if there were

10:26AM    7     a conviction, would sentence him to 15 years based on the

10:26AM    8     criminal history.

10:26AM    9                MR. COOPER:    I think they would consider the 3553(a)

10:26AM   10     factors in making that determination, but I'm finished with

10:26AM   11     the proffer.     I appreciate the Court's time.

10:26AM   12                THE COURT:    Mr. Cotter?

10:26AM   13                MR. COTTER:    I will be brief, Judge.       First, I

10:27AM   14     believe that the Court is in possession of a letter that

10:27AM   15     appears undated from a doctor named Joseph Kowalski.

10:27AM   16                THE COURT:    Yes.   That was the orthopedic surgeon?

10:27AM   17                MR. COTTER:    Correct.

10:27AM   18                THE COURT:    And --

10:27AM   19                MR. COTTER:    I'll get to that in a minute.        I just

10:27AM   20     wanted to make sure you had it.

10:27AM   21                THE COURT:    Right.   That's Dr. Joseph M. Kowalski, MD

10:27AM   22     addressed to you, Mr. Cotter, indicating that Mr. Scott

10:27AM   23     Barnes, that he had performed orthopedic surgery on him on

10:27AM   24     November 14th or -- I'm sorry, yes, November 14th, 2023.

10:27AM   25                MR. COTTER:    Okay.   Very briefly, Judge, with respect
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10:28AM    1     to the government's proffer, the first thing I want the Court

10:28AM    2     to understand is that Scott Barnes is not in possession of a

10:28AM    3     passport or any other international travel documents.              So, the

10:28AM    4     prospect -- should the Court decide to impose some terms and

10:28AM    5     conditions, the prospect of him going to Brazil or Ireland or

10:28AM    6     any of the other lovely places doesn't exist.           Mr. Barnes

10:28AM    7     also, from the bail report, Judge, you'll see that he has $500

10:28AM    8     in his bank account.      The ability of him to be able to provide

10:28AM    9     transportation to go some place also doesn't really exist.

10:28AM   10          Now, the letter that I handed to you, Judge, only refers

10:28AM   11     to one back surgery that took place in November of 2023.             The

10:29AM   12     situation, I think, if I understand it correctly -- and,

10:29AM   13     Judge, I hope the Court understands that I got the call on

10:29AM   14     this case late Friday after -- early Friday afternoon.

10:29AM   15     Mr. Barnes is housed in Livingston County, approximately 90

10:29AM   16     minutes east of Buffalo, and I have not been able to get there

10:29AM   17     to see him.

10:29AM   18          I have talked to him on the telephone and I met with him

10:29AM   19     for about 30 minutes before we got here today.           So, I've got

10:29AM   20     some information, but I don't have a four-month or a two-month

10:29AM   21     or a one-month investigation into this as I stand here today.

10:29AM   22     But what I do understand is, back in March of 2023, Mr. Barnes

10:29AM   23     was on his motorcycle in the State of Florida, hit a pothole,

10:29AM   24     and his bike broke, and he fell off.         It was two days later

10:30AM   25     that he determined that he couldn't move his legs.
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10:30AM    1          Mr. Barnes is employed as a union electrician.          He's been

10:30AM    2     a member of the International Brotherhood of Electrical

10:30AM    3     Workers since about 1996 or 1997.        He's a journeyman.        He's a

10:30AM    4     skilled tradesman.      He moved to Western New York because the

10:30AM    5     cost of living here is cheaper than it is in Eastern

10:30AM    6     Massachusetts where he is from.        I don't know if I have to

10:30AM    7     cite any facts and figures about housing and wages and so on

10:30AM    8     and so forth, but Buffalo is a pretty good deal.

10:30AM    9          He was able to go back to work, I believe, in September or

10:30AM   10     October of 2023.     And after a couple days at work, he lost his

10:30AM   11     balance, he fell, and he bent the tip of the rod in his back

10:31AM   12     that was inserted in March.       That's why he had the surgery in

10:31AM   13     November.    He has had two wickedly major back surgeries within

10:31AM   14     the past nine months.

10:31AM   15          I know that when you come out, Judge, we are all ready

10:31AM   16     standing.    But, if you could observe him sit and stand, you

10:31AM   17     would see that he does it in a very labored fashion.               He has

10:31AM   18     no risk of flight.      He's definitely not running.       All

10:31AM   19     right?

10:31AM   20          This prior conviction, you know, the Court indicated in a

10:32AM   21     sidebar, maybe we were off the record, that you were admitted

10:32AM   22     to the uniform -- the Court of Military Justice.           I am very

10:32AM   23     unfamiliar with it.      I don't know.     I do know that that

10:32AM   24     conviction is from 32 years ago, and I hope Mr. Cooper will

10:32AM   25     accept my apology for interrupting him when he was speaking to
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10:32AM    1     the Court as well.      That's 32 years ago.      And, if my

10:32AM    2     assessment is correct, Judge, it was three or four guys who

10:32AM    3     were all enlisted servicemen who were in possession of some

10:32AM    4     LSD on a weekend.      One of them sold a tab to another.          We're

10:32AM    5     not talking a major organization.        We're talking about

10:33AM    6     knuckleheads in their early 20's in the military on leave or

10:33AM    7     on weekend.     I'm not excusing it, but, for it to be

10:33AM    8     characterized as he's distributing or he's, you know, this

10:33AM    9     wicked criminal from three decades ago, I think is a little

10:33AM   10     far-fetched.

10:33AM   11          Now, one thing that does appear in the complaint, Judge,

10:33AM   12     which is something you are to consider today, is that the FBI

10:33AM   13     alleges that they started surveilling the clubhouse back, I

10:33AM   14     believe, it was November 6th.        Mr. Barnes was arrested on

10:33AM   15     December 7th, roughly 30 days later.         What is missing from

10:34AM   16     that criminal complaint is any allegation of any other

10:34AM   17     criminal activity perpetrated by Mr. Barnes during that 30 to

10:34AM   18     31-day period of time.

10:34AM   19          The FBI or the agent makes special note of the fact that

10:34AM   20     his car is regularly seen out there.         I submit to the Court

10:34AM   21     that it's pretty logical that a guy who can't work because

10:34AM   22     he's got a broken back is depending on his friends to help

10:34AM   23     provide for him because he can't work because he's got a

10:34AM   24     broken back or he's recovering from pretty major surgeries.

10:34AM   25          The other thing that's missing from the bail report,
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10:34AM    1     Judge, is a guy who is 55 years old who has not ever had a

10:34AM    2     warrant for his arrest or any warrants put out for him.              I

10:34AM    3     think the risk of flight doesn't exist.

10:34AM    4            In terms of danger, Judge, I don't think it exists,

10:35AM    5     either.    If -- you've been on the bench a while.         I've been on

10:35AM    6     this side of the bench for a little while.          I've seen people's

10:35AM    7     criminal records.      I've seen 55-year-old guys' criminal

10:35AM    8     records.    I've seen records that stretch for 20 or 30 pages.

10:35AM    9            Mr. Barnes does not believe that what is written in the

10:35AM   10     bail report with regard to the '19 -- or the 2018 or 2019

10:35AM   11     incident in New Hampshire is an accurate representation of the

10:35AM   12     result.    I don't have anything to give the Court any different

10:35AM   13     than what's in the bail report.

10:35AM   14            But what I can say is, if we've got one conviction while

10:36AM   15     he's in the Army in 1991, and we've got some kind of dust up,

10:36AM   16     it sort of sounds like something that happened in a bar in

10:36AM   17     2018, we're not talking about a lot of danger there.               All

10:36AM   18     right?    He does have a right to bail, and he does have a right

10:36AM   19     to release.

10:36AM   20            He doesn't really have a residence here.       I would assume

10:36AM   21     that, if the Court were to try to impose some terms and

10:36AM   22     conditions, one of those would be that he not live at the

10:36AM   23     clubhouse.    Or, if the Court deferred to Probation, Probation

10:36AM   24     might say that.     I am working on trying to find a place for

10:36AM   25     him.    I've already given my card to the probation officer.
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10:36AM    1     The deal, Judge, is simply that, between Friday afternoon and

10:36AM    2     today, I haven't had time to work it.         And the individual who

10:37AM    3     is a friend of Mr. Barnes who is working it is, I believe,

10:37AM    4     still present in the courtroom, but I'm not going to turn

10:37AM    5     around, but he can't bring his phone up here.           And so, he

10:37AM    6     can't make the calls.      He did leave during the break between

10:37AM    7     the first one and this one, and I hope to have that answer

10:37AM    8     tomorrow.

10:37AM    9          Now, with respect to this weapon, Judge, the government

10:37AM   10     chose the words that they put in the complaint.           It says that

10:37AM   11     it's in close proximity.       It says it's near.     It doesn't say

10:38AM   12     it's in his pocket.      It doesn't say it has his DNA.        It

10:38AM   13     doesn't say that it's registered to another member of the

10:38AM   14     Outlaws.    We don't know any of that.       All we know is that

10:38AM   15     there is a gun in this clubhouse.

10:38AM   16          Mr. Barnes was in the clubhouse when they raided it.            I

10:38AM   17     haven't seen the return on any warrants.          I don't know what

10:38AM   18     else they pulled out of the place.         But I submit to you,

10:38AM   19     Judge, that maybe the evidence that they have is not as strong

10:38AM   20     as, A, they want to believe; and, B, what they want you to

10:38AM   21     believe.    The complaint doesn't say that Mr. Barnes brandished

10:38AM   22     the weapon.

10:38AM   23          It doesn't really, you know -- well, let's just -- now,

10:38AM   24     briefly, Mr. Cooper made some reference to the point that

10:39AM   25     Mr. Barnes didn't necessarily provide all the information that
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10:39AM    1     Probation asked for.      What Mr. Barnes told the probation

10:39AM    2     officer during the interview is that he was not covered --

10:39AM    3     comfortable sharing personal information about his ex-wife or

10:39AM    4     his children, or his past drug usage, without the presence of

10:39AM    5     his attorney.

10:39AM    6          So, Judge, we are more than happy to submit to any

10:39AM    7     conditions that the Court wants to impose, and I trust that

10:39AM    8     Mr. Barnes will abide by them.        He does need physical rehab in

10:39AM    9     order to learn how to walk again without pain.           He does not

10:39AM   10     need to sleep on a metal cot in a holding center for the next

10:39AM   11     six months, nine months, two years, three years, five years.

10:39AM   12     He doesn't need that.      We'd like to have him released please,

10:40AM   13     Judge.    Thank you.

10:40AM   14                THE COURT:    Mr. Cooper, anything you want to add?

10:40AM   15                MR. COOPER:    No.   Thank you, Judge.

10:40AM   16                THE COURT:    All right.    Once again, in considering

10:40AM   17     the government's motion to have the defendant detained, I

10:40AM   18     focus on the charge in the criminal complaint.           And that

10:40AM   19     charge is a very limited one; namely, that the defendant

10:40AM   20     quote, did unlawfully possess a firearm in violation of Title

10:40AM   21     18, United States Code, Section 922(g)(1).

10:40AM   22          Section 922(g)(1) specifically states, quote, it shall be

10:40AM   23     unlawful for any person who has been convicted -- (audio

10:43AM   24     break) saying the government is relying on the statutory

10:43AM   25     presumption.
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10:43AM    1                MR. COOPER:    Okay.   Thank you, Judge.

10:43AM    2                THE COURT:    But there is an actual written

10:43AM    3     presumption that is a substantial one that I also take into

10:43AM    4     account, and that's the presumption of innocence to which a

10:43AM    5     defendant is a criminal case is entitled.          And that is

10:43AM    6     contained within the Constitution of the United States, a

10:43AM    7     document that I swore to in an oath to uphold to the best of

10:43AM    8     my ability when I took this position.

10:43AM    9          The Bail Reform Act of 1984 also contains a presumption of

10:43AM   10     innocence.    So, I have two presumptions; the Constitutional

10:44AM   11     one being the most substantive one, in my opinion, to take

10:44AM   12     into account, coupled with what has been proffered by the

10:44AM   13     government in its position that the defendant constitutes a

10:44AM   14     danger.

10:44AM   15          The government also takes a position that the defendant is

10:44AM   16     a flight risk, which it has a right to present.           Now, as to

10:44AM   17     the question of flight, all that I need to be concerned with

10:44AM   18     is a preponderance of the evidence.         With respect to

10:44AM   19     dangerousness in the case, I need to be convinced with clear

10:44AM   20     and convincing evidence of dangerousness.          And, after taking

10:44AM   21     those two factors into account, I also have to examine whether

10:45AM   22     there are any terms and conditions that I can impose that

10:45AM   23     would reasonably address those issues; the issue of flight and

10:45AM   24     the issue of dangerousness, or whether there are no such terms

10:45AM   25     and conditions.
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10:45AM    1          In doing that, I consider all of the factors.          I consider

10:45AM    2     all of the information that has been presented, both by the

10:45AM    3     government and by defense counsel, and what has been presented

10:45AM    4     by the probation office in the Pretrial Services report,

10:45AM    5     including the criminal history of the defendant.

10:45AM    6          Now, we've already discussed the fact that the defendant

10:45AM    7     had a military conviction 32 years ago.         The other convictions

10:45AM    8     set forth in the Pretrial Services report are misdemeanors

10:46AM    9     that occurred back in September of 2018, and there was a

10:46AM   10     disposition made in July of 2019.

10:46AM   11          The first charge was disorderly conduct under New

10:46AM   12     Hampshire law for which the defendant was sentenced for -- it

10:46AM   13     says to good behavior, and to have no contact with the victim.

10:46AM   14     The second was a simple assault, physical contact or BI, and

10:46AM   15     it says the defendant was sentenced for simple assault,

10:47AM   16     physical contact, or BI to good behavior.          I see no other

10:47AM   17     criminal convictions in the Pretrial Services report.

10:47AM   18          It is my finding that, notwithstanding what the government

10:47AM   19     had proffered in support of its motion, that there are terms

10:47AM   20     and conditions that I can impose that would address the

10:47AM   21     government's concerns.       On the issue of flight, that's easily

10:47AM   22     addressed.    I'll order, and I will be ordering, monetary --

10:47AM   23     electronic monitoring of the defendant 24 hours so that there

10:48AM   24     is a way of knowing the whereabouts of the defendant at all

10:48AM   25     times.
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10:48AM    1          As to the issue of dangerousness, the electronic

10:48AM    2     monitoring will also address that issue and the additional

10:48AM    3     terms and conditions I'm about to impose will address that

10:48AM    4     issue as well.     So, in keeping with my obligation to

10:48AM    5     effectuate the Constitutional rights of the defendant where it

10:48AM    6     can be done reasonably without undo risk to members of the

10:48AM    7     community or the community itself, I'm obligated to effectuate

10:48AM    8     the defendant's Constitutional right of bail, which I am about

10:48AM    9     to do.

10:48AM   10          I'm releasing the defendant subject to the following terms

10:48AM   11     and conditions.     And I want you to listen very carefully,

10:48AM   12     Mr. Barnes, because if you violate any one of those terms and

10:49AM   13     conditions or if you fail to obey any one of those terms and

10:49AM   14     conditions, that can result in your bail being revoked, and

10:49AM   15     your being locked up and kept locked up until this matter is

10:49AM   16     completed.    Do you understand?

10:49AM   17                THE DEFENDANT:     Yes, Your Honor.

10:49AM   18                THE COURT:    You are hereby made subject to the

10:49AM   19     supervision and authority of the United States Probation

10:49AM   20     Office.    And what that means is you must obey and carry out

10:49AM   21     and follow through with every reasonable directive given to

10:49AM   22     you by a representative of that office.         Should you fail to do

10:49AM   23     so, that can result in your bail being revoked and your being

10:49AM   24     locked up and kept locked up until this matter is completed.

10:49AM   25     Do you understand?
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10:49AM    1                THE DEFENDANT:     Yes, Your Honor.

10:49AM    2                THE COURT:    You are required to have a verifiable

10:49AM    3     residence that is approved by the United States Probation

10:49AM    4     Office, which residence also must be acclimated or suited for

10:50AM    5     electronic monitoring of the defendant.         The Probation Office

10:50AM    6     will have the discretion as to the type of electronic

10:50AM    7     monitoring that is to be carried out or imposed, and the

10:50AM    8     probation office will be given a reasonable period of time

10:50AM    9     within which to do an evaluation of the residence that the

10:50AM   10     defendant will be staying at.

10:50AM   11          So, the defendant will not be released until that has been

10:50AM   12     completed; one, a verifiable residence established; and, two,

10:50AM   13     the inspection by the Probation Office of that residence.          The

10:51AM   14     defendant's travel is hereby restricted to the Western

10:51AM   15     District of New York.      That means you cannot travel outside of

10:51AM   16     the Western District of New York, which consists of 17

10:51AM   17     counties, and your attorney will advise you of what those

10:51AM   18     counties are.

10:51AM   19          If there becomes a need to travel outside of the Western

10:51AM   20     District, application and approval for such travel must first

10:51AM   21     be obtained from the US Probation Office before that travel

10:51AM   22     can be undertaken.      And, as part of that process, the

10:51AM   23     defendant is obligated to fully disclose the purpose of the

10:52AM   24     travel, his complete itinerary and any other information the

10:52AM   25     probation officer requests of him in the context of that
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10:52AM    1     travel.    And such travel is not to be undertaken until actual

10:52AM    2     approval for same has been granted by the Probation Office or

10:52AM    3     by the Court.

10:52AM    4          As I previously indicated, but I will repeat, the

10:52AM    5     defendant is to obtain a verifiable residence that is approved

10:52AM    6     by the US Probation Office and to remain at that verifiable

10:52AM    7     residence while this matter is pending.         That verifiable

10:52AM    8     residence will also be subject to an evaluation or inspection

10:52AM    9     by the Probation Office as to the feasibility of conducting

10:52AM   10     the electronic monitoring that I am about to order.

10:52AM   11          The defendant will be subject to electronic monitoring,

10:52AM   12     the form of which will be decided or in the discretion of the

10:52AM   13     US Probation Office, but it will be a 24-hour period of

10:53AM   14     monitoring.     This is not to say the defendant is being

10:53AM   15     confined to the home or incarcerated in the home.           It means he

10:53AM   16     will be subject, though, to monitoring on a 24-hour basis.

10:53AM   17          The defendant is to avoid all contact with any co-

10:53AM   18     defendants or defendants in related cases such as has been

10:53AM   19     extensively referred to, not only in this case by

10:53AM   20     incorporation, but in the case of United States v. Ermin, the

10:53AM   21     presently-pending cases involving the Pharaoh's Gentlemen's

10:53AM   22     Club, and the Defendant Gerace and the Defendant Bongiovanni

10:53AM   23     and other individuals.

10:53AM   24          Anything else, Probation Officer?

10:54AM   25                P.O. MCCRAY:    No, Judge.     Thank you.
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10:54AM    1                THE COURT:    Upon completion of the verifiable address

10:54AM    2     and approval of that address by the US Probation Office, both

10:54AM    3     as to the residence itself as well as to the efficacy for

10:54AM    4     electronic monitoring, and upon completion any additional

10:54AM    5     processing by either the US Marshal Service and/or the US

10:54AM    6     Probation Office, the defendant is to be released on bail

10:54AM    7     subject to all of the terms and conditions as I have stated

10:54AM    8     them to be.

10:54AM    9          Once again, Mr. Barnes, I want to advise you that you must

10:54AM   10     comply with all of those terms and conditions.           Because, if

10:54AM   11     you fail to do so, a violation of any one of those terms and

10:54AM   12     conditions could result in your bail being revoked, and your

10:54AM   13     being locked up and kept locked up until this matter is

10:54AM   14     completed.    Do you understand?

10:54AM   15                THE DEFENDANT:     Yes, Your Honor.

10:54AM   16                THE COURT:    Anything further at this time?

10:54AM   17                MR. COTTER:    Not from the defense, Judge.

10:54AM   18                MR. COOPER:    Judge, the government would make a few

10:54AM   19     requests for additional conditions at this time.           First of

10:55AM   20     all, the government would request that the Court impose a

10:55AM   21     condition that the defendant have no contact with members of

10:55AM   22     the Outlaws Motorcycle Club.

10:55AM   23                THE COURT:    I'm going to deny that.      That's guilt by

10:55AM   24     association.

10:55AM   25                MR. COOPER:    Judge, the government would request that
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10:55AM    1     the defendant be prohibited from being inside of the Outlaws

10:55AM    2     Motorcycle Clubhouse where the firearm in this case was

10:55AM    3     recovered.

10:55AM    4                THE COURT:    I am going to deny that.

10:55AM    5                MR. COOPER:    The government would request that the

10:55AM    6     defendant not be permitted to be present at Pharaoh's

10:55AM    7     Gentlemen's Club.

10:55AM    8                THE COURT:    I'm going to deny that.      That's a public

10:55AM    9     place of business.

10:55AM   10                MR. COOPER:    The government would request that the

10:55AM   11     defendant be prohibited from having weapons of any type, not

10:55AM   12     just firearms.

10:55AM   13                THE COURT:    I've already imposed that.

10:55AM   14                MR. COOPER:    Okay, Judge.     And then, no contact with

10:55AM   15     members of the Rare Breed Motorcycle Club.

10:55AM   16                THE COURT:    I'm going to deny that.      That's guilt by

10:55AM   17     association.

10:55AM   18                MR. COOPER:    All right.    Thank you, Judge.      And then,

10:55AM   19     the government would request the same 24-hour stay that we

10:55AM   20     requested with respect to Defendant Ermin.

10:55AM   21                THE COURT:    That's granted.     I presume it's going to

10:56AM   22     take longer than 24 hours for the arrangements of a verifiable

10:56AM   23     residence and for the evaluation and inspection by the

10:56AM   24     Probation Office.

10:56AM   25                MR. COOPER:    Okay.   So, that would be a stay until
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10:56AM    1     Wednesday at 6 p.m.?

10:56AM    2                THE COURT:    Correct.

10:56AM    3                MR. COOPER:    Thank you, Your Honor.      I have nothing

10:56AM    4     further.

10:56AM    5                THE COURT:    All right.    Thank you.

10:56AM    6                MR. COTTER:    Thank you.    Judge.

10:56AM    7

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 1                           CERTIFICATE OF TRANSCRIBER

 2

 3          In accordance with 28, USC, 753(b), I certify that this is

 4     a true and correct record of the proceedings held in the

 5     United States District Court for the Western District of New

 6     York before Honorable Magistrate Judge H. Kenneth Schroeder,

 7     Jr., on December 12th, 2023.

 8

 9

10                                          s/ Megan E. Pelka, RPR

11                                          Megan E. Pelka, RPR

12                                          Transcriber

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